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         IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC., et al.

            Plaintiffs,
v.                                          Case No. 4:18cv137-MW/CAS

RICK SWEARINGEN, in his official
capacity as Commissioner of the
Florida Department of Law
Enforcement, et al.,

          Defendants.
__________________________/

           ORDER GRANTING CONSENT MOTION FOR
     EXTENSION OF TIME TO RESPOND TO MOTION TO DISMISS

      This Court has considered, without hearing, Plaintiffs’ Consent Motion for

Extension of Time to file response to Defendants’ Motion to Dismiss. ECF No. 84.

The motion is GRANTED. Plaintiffs shall file their response to the pending motion

to dismiss, ECF No. 73, on or before April 3, 2020.

      SO ORDERED on February 3, 2020.

                                     s/Mark E. Walker               ____
                                     Chief United States District Judge




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